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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


GEORGE VIGIL,

               Plaintiff,

       vs.                                                   Civ. No. 20-740 KG/JFR

JOSEPH AQUINO and RIO ARRIBA
SHERIFF’S OFFICE,

               Defendants.


                              INITIAL SCHEDULING ORDER

       This case is assigned to me for scheduling, case management, discovery and other

non-dispositive motions. The Federal Rules of Civil Procedure, as amended, as well as the Local

Civil Rules of the United States District Court for the District of New Mexico will apply to this

lawsuit.

       The parties, appearing through counsel or pro se, will “meet and confer” no later than

Thursday, October 22, 2020, to discuss the nature and basis of their claims and defenses, the

possibility of a prompt resolution or settlement, and to formulate a provisional discovery plan.

Fed. R. Civ. P. 26(f). The parties will cooperate in preparing a Joint Status Report and

Provisional Discovery Plan (“JSR”) which follows the sample JSR available at the Court’s

website, www.nmd.uscourts.gov. The parties will fill in the proposed dates, bearing in mind that

the time allowed for discovery is generally 120 to 150 days from the date of the Rule 16 Initial

Scheduling Conference. The Court will determine actual case management deadlines after

considering the parties’ requests. Plaintiff, or Defendant in removed cases, is responsible for

filing the JSR by Monday, November 2, 2020.
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           Good cause must be shown and the Court’s express and written approval obtained for any

modification of the case management deadlines that the Court will establish at the scheduling

conference.

           Initial disclosures under Fed. R. Civ. P. 26(a)(1) must be made within fourteen (14) days

of the meet-and-confer session.

           A Rule 16 Initial Scheduling Conference will be held telephonically on Thursday,

November 12, 2020, at 10:00 a.m. Five minutes prior to the start of the Conference, the parties

shall call the AT&T Conference line at 888-363-4735, Access Code 2387395, to connect to the

proceedings. At the Rule 16 scheduling conference, counsel must be prepared to discuss initial

disclosures; discovery needs and scheduling; the process for resolving discovery disputes;1 all

claims and defenses; the use of scientific evidence and whether a Daubert2 hearing is needed;

and the timing of expert disclosures and reports under Fed. R. Civ. P. 26(a)(2). We will also

discuss settlement prospects and alternative dispute resolution possibilities. Client attendance is

not required. All parties should review the Court’s webpage at:

https://www.nmd.uscourts.gov/content/honorable-john-f-robbenhaar, particularly noting the

Procedures Tab and linked Guidelines for Proposed Protective Orders, Phone Conference

Procedures and Procedures for Civil Discovery and Settlement Matters.




1
  The Court will not entertain any motion to resolve a discovery dispute pursuant to Fed. R. Civ. P. 26 through 37, or
a motion to quash or modify a subpoena pursuant to Fed. R. Civ. P. 45(c), unless the attorney for the moving party
has conferred or has made reasonable effort to confer with opposing counsel concerning the matter in dispute prior to
the filing of the motion. Every certification required by Fed. R. Civ. P. 26(c) and 37 and this rule related to the efforts
of the parties to resolve discovery or disclosure disputes must describe with particularity the steps taken by all
attorneys to resolve the issues in dispute. A “reasonable effort to confer” means more than mailing or faxing a letter
to the opposing party. It requires that the parties in good faith converse, confer, compare views, consult, and deliberate,
or in good faith attempt to do so. Absent exceptional circumstances, parties should converse in person or
telephonically.
2
    Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993).

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       Plaintiff shall serve a copy of this order on any parties that have been served but have not

yet entered an appearance and shall file a certificate of service with the Court documenting such

service. Plaintiff shall serve a copy of this order on any parties not yet served along with the

summons and complaint.

       IT IS SO ORDERED.


                                                      ________________________________
                                                      JOHN F. ROBBENHAAR
                                                      United States Magistrate Judge




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